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USCA4 Appeal: 07-4115    Doc: 1     Filed: 01/25/2007   Pg: 2 of 2


                              UNITED STATES COURT OF APPEALS
                                  FOR THE FOURTH CIRCUIT

                                    January 25, 2007


                        NOTICE OF APPELLATE CASE OPENING
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      FOURTH CIRCUIT INFORMATION
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          Court of Appeals Case #:    7-4115

          Short Caption:    US v. Dobie

          Date NOA Received 4CCA:     1/24/07

          Case Manager:    Sharon A. Wiley




      DISTRICT COURT INFORMATION
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          Division:     District of Maryland at Greenbelt

          District Court Case Number(s):

          8:04-cr-00235-RWT

          Date NOA Filed in District Court:      1/9/07
